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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


   JOHN WALKER, JR.,

                            Plaintiff,                   22-cv-520

        -against-
                                                         NOTICE OF PLAINTIFF’S
   THE CITY OF BUFFALO; THE COUNTY OF                    MOTION TO AMEND
   ERIE; MICHAEL G. GUADAGNO; JOHN                       COMPLAINT
   MONTONDO; LINDA J. FIAL AS
   EXECUTOR FOR THE ESTATE OF ROBERT
   GRABOWSKI; AND MARTIN BULLOCK AS
   EXECUTOR FOR THE ESTATE OF JAMES E.
   HUNTER,

                           Defendants.



       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, the

Declaration of Gideon Hanft, and the annexed exhibits, Plaintiff John Walker, Jr., by and

through the undersigned attorneys, respectfully moves this Court for an order granting Plaintiff’s

motion to amend his complaint pursuant to this Court’s Case Management Order, Dkt. No. 34 at

¶ 5, and Federal Rule of Civil Procedure 15(a)(2).



Dated: December 21, 2022                        Respectfully submitted,



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